               Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 1 of 10




    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------X

    JANE DOE,
                               Plaintiff,                                    22 CV

             -against-                                                       COMPLAINT

    CITY UNIVERSITY OF NEW YORK,

                               Defendant.
    ---------------------------------------------------------X

             The Plaintiff, JANE DOE 1 by her attorney, STEWART LEE KARLIN, complaining of

    Defendant, CITY UNIVERSITY OF NEW YORK, alleges upon knowledge as to herself

    and her own actions and upon information and belief as to all other matter, as follows:

                                             NATURE OF THE CLAIM

    1. This is a civil action based upon Defendant’s violations of the Americans with Disabilities

        Act, 42 U.S.C. § 12182 and Section 504, 29 U.S.C. 794 by discriminating against Plaintiff

        due to her disability and perceived disability. Plaintiff is seeking damages for violating her

        civil rights.

                                            JURISDICTION AND VENUE

    2. The Court has jurisdiction over Defendant City University of New York (CUNY) pursuant to

         42 U.S.C § 12117 and 28 U.S.C. 1331.

    3. Venue lies in this District pursuant to 28 U.S.C. 1391 (b) (2) as a substantial part of the events

        giving rise to the claim arose in New York County.




1
    Jane Doe is being used to protect the identity of Plaintiff’s education and medical privacy.
                                                              1
         Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 2 of 10




                                             PARTIES

4. At all times hereinafter mentioned, Plaintiff Jane Doe ("Plaintiff"), was and still is a student

   of the Defendant CUNY at the Borough of Manhattan Community College (BMCC).

5. Defendant CUNY is a recipient of federal financial assistance as defined by Section

    504 (29 U.S.C. 794) and the regulations promulgated thereunder.

6. Defendant CUNY offers a variety of programs and services for students that have

    disabilities in order for the student to gain access to their education.

7. Jane Doe is a qualified individual (general anxiety disorder, ) with a disability

    in that she met the essential requirements for the receipt of services and reasonable

    accommodations. Jane Doe’s disability without reasonable accommodations directly adversely

    impacts on her education.

8. Plaintiff has a mental impairment that substantially limits one or more major life activities, had

   a record of such an impairment and was regarded as having such an impairment. Plaintiff also

   participated in protected activity pursuant to the ADA by requesting reasonable

   accommodations that were not timely granted and not fully implemented in part by Defendant.

                                 FACTUAL STATEMENT

9. Plaintiff duly enrolled at BMCC in the nursing program. At the time of Plaintiff’s enrollment,

   she was provided by Defendant with Defendant’s policies regarding academic criteria for

   graduation and the EEO policies from the school, as well as the appeal procedures in the

   event of an alleged breach of the agreement. This formed the contract between the Plaintiff and

   Defendant.

10. The contract was based on the terms and conditions for graduation that were offered by the

   Defendant at the time of Plaintiff’s enrollment. Implicit in the contract, is to apply the rules


                                                   2
         Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 3 of 10



   uniformly and not to act discriminatorily when applying the policies to a given situation.

11. Defendant by and through its agents breached the contract in the State of New York and violated

   federal anti-discrimination laws hereinafter more specifically described.

12. Plaintiff initially applied for and was granted accommodation in The Accessibility Office

   on or about summer 2019.. She provided medical documentation and requested reasonable

   accommodations allowing her to take examinations in a separate space, with less

   distractions, and extra test time.

13. These accommodations for the Spring 2022 semester were not granted until January 30,

   2022.      However, despite the belated granting of the accommodations, Plaintiff was

   subjected to discrimination due to her disability.

14. Professor Gwak knew of her disability as her Professors were advised of the

   accommodations necessary to reasonably accommodate her disability but subjected her to

   disparate treatment based on her disability as set forth below.

15. Plaintiff initial experience with Professor Gwak began before she entered her class. About

   two weeks before class, Plaintiff advised Professor Gwak that she would be unable to attend

   her workshop because she had to work and asked for guidance as to which chapters to start

   reading.

16. Professor Gwak wrote back to tell her that she must wait for the blackboard to open. At that

   time, she was conducting the workshop, and Plaintiff asked her if she would be making

   videos from the workshop so she could follow it. She ignored Plaintiff and never even

   offered her any material from the workshop to read.

17. A few days before the semester started, she did open the blackboard. Plaintiff had

    purchased the class textbook in August 2021, when Plaintiff was about to take Med-

    Surgical 1. When Plaintiff asked her last professor (in Fall 2021)for reading material, she
                                                 3
         Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 4 of 10



    posted it very early which was very helpful.

18. Plaintiff had sought assistance from Professor Gwak after the unit 1 exam on directions to

   successfully pass the course but did not receive her help. Professor Gwak asked Plaintiff if she

   takes notes. Plaintiff confirmed that she takes notes. In addition, Plaintiff told Professor Gwak

   that she felt excluded in class since Professor Gwak indicated on a few occasions that she was

   not teaching anything already taught in her workshop.

19. Professor Gwak noted that Plaintiff had done well in the previous course (Med-Surgical 1) in

   comparison to the current Unit 1 exam. Plaintiff told Professor Gwak that the previous

   instructor gave her good guidance and clear directions. Professor Gwak got angry and walked

   away without providing any assistance or guidance to Plaintiff.

20. Plaintiff has been denied an equal opportunity, as a student, to prepare for the mid-term exam

   in a timely manner which resulted in a low grade. The midterm exam carried 20% of the

   grade.

21. Professor Gwak excluded Plaintiff regarding information discussed in class after the Unit

   2 exams, while Plaintiff was taking the exam in N360, which would have provided support

   for the midterm exams.

22. Plaintiff was forced by Professor Gwak to give up her exam review test paper without

   having the opportunity to completely review her paper with her. She did not do this to the

   other students.

23. When the Spring semester began, Professor Gwak asked the class for the students’ phone

   numbers. Plaintiff was not comfortable sharing that with her at the moment. She then

   threatened Plaintiff.

24. Professor Gwak said she would put a derogatory note in her ﬁle at the end of the semester.

   Plaintiff relented and provided Professor Gwak with her phone number.
                                                   4
         Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 5 of 10



25. Days leading up to the first exam, Professor Gwak insisted that she take the math exam

   with the class. Plaintiff has a disability (anxiety disorder) and received accommodations

   such as extra test time and to be separated from the class for the exam.

26. Plaintiff provided the Accessibility Oﬃce with documented proof, but Professor Gwak

   was not willing to reasonably accommodate her. This increased her anxiety.

27. Both the manager of the Accessibility Oﬃce and a Compliance Oﬃcer spoke to Professor

   Gwak that she was violating Plaintiff’s ADA rights by not allowing her to take the exam

   out of the class.

28. Plaintiff was then advised the matter was settled and Professor Gwak would provide a place

   for her to take the exam and a proctor.

29. However, on the day of the exam, Professor Gwak still tried to force Plaintiff to remain in

   the class and take the exam.

30. While Plaintiff was taking the Unit Two exam in the Accessibility Oﬃce located in N360,

   Professor Gwak deliberately excluded information from Plaintiff discussed with the class

   at the end of the Unit 2 exam before the students left the classroom located in N758.

31. Professor Gwak guided the class for the midterm exam in Plaintiff’s absence.

32. Plaintiff was excluded from the information that outlined speciﬁc topics and the number of

   questions for each topic to study for the midterm exam. Professor Gwak guided the class

   and answered questions from the students about the midterm exams.

33. When Plaintiff arrived for the review of the Unit Two exam at 1.00 pm, Professor Gwak

   did not have the courtesy to inform Plaintiff of the discussion or guide her for the midterm

   exam which put her at a disadvantage in preparing for the exam.

34. When Professor Gwak came to collect the Unit Two exam, when Plaintiff was handing it

   to Professor Gwak, she grabbed it from Plaintiff telling her "you’re so slow" and "you
                                                5
         Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 6 of 10



   have problems."

35. Also, in class she has referred to Plaintiff as "disability people" and she allowed the class

   to have exams (all 4 unit exams and the midterm exam) at 10.00 am while Plaintiff was

   taking her test at 9.00 am. She told the class she wants them to have the extra hour to study.

   This show an open bias and ignorance of the HIPAA laws.

36. For the students who remained for assistance at the exam review, Professor Gwak reviewed

   all their questions, guided them on how to study, and prepared them for the midterm exam,

   but she never did that for Plaintiff.

37. For example, initially at the review of the Unit Two exams, Plaintiff sat down and reviewed

   her exam. Professor Gwak provided assistance to students who remained. A few students

   thanked her for the review and left. Professor Gwak continued to go over another student’s

   exam with her and directed her on questions she did not understand, and she guided the

   student on how to study. She even took this same student back to her office to review her

   Unit 1 exam again.

38. When Plaintiff approached Professor Gwak to review her paper, she was annoyed,

    answered one question and then when she was asking her another question, she started

    yelling at Plaintiff, “give me a break lady.” Professor Gwak did not want to review her

    paper for the Unit Two exam with her any further as she did with the other students.

39. Plaintiff was unable to take the Unit three exam as scheduled on April 25th, 2022 due to the

    undue stress that was put upon her by Professor Gwak and she received a leave of absence.

    Professor Gwak rescheduled the exam four days later, however, Plaintiff was randomly

    flagged by the school to take a Covid test and was unable to enter the school on May 29th,

    2022.

40. On May 29th Professor Gwak told Plaintiff that she could take the Unit 3 exam after the
                                                 6
         Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 7 of 10



    finals on May 19th and focus on the Unit 4 exam on May 9th, 2022. However, three days

    later Professor Gwak changed her mind and told Plaintiff to take the Unit 3 exam right after

    Unit 4 exam.

41. These were unreasonable changes made by Professor Gwak because she was not given

    enough time to prepare for the finals, and as such Plaintiff requested to take the Unit 3

    exam before unit 4 exam on May 6th, 2022. The unreasonable changes put upon the

    Plaintiff by Professor Gwak made it difficult for her to achieve the grades she deserves.

    Another student (upon information and belief did not have a disability) who was flagged

    from entering the school was given adequate time to prepare for each exam.

42. Finally, Professor Gwak's ignored the plain language of the student handbook that clearly

   allows a student to review their exams. Plaintiff asked Professor Gwak to review the final

   exam to verify the results, however, Professor Gwak refused. Professor Gwak's refusal to

   let Plaintiff review her exam is a plain violation of BMCC’s policies.

43. After the final exam, Professor Gwak insisted that Plaintiff did not pass the course, although

   she did not yet receive a credit for the course she had requested from the school because of

   being denied an equal opportunity on the midterm exam.

44. These actions by Professor Gwak are arbitrary, capricious, and in bad faith. Professor

   Gwak’s actions violate the Americans with Disabilities Act, and Section 504 of the

   Rehabilitation Act of 1973, by failing to follow its own rules and by mocking Plaintiff 's

   disability and subjecting her to disparate treatment.

45. Plaintiff should have received a passing grade in NUR 411-091, the final requirement that

   would have allowed her to graduate on June 9, 2022. However, Plaintiff because of the

   discrimination that directly impacted her grade and retaliation for reporting such

   discrimination to the school was not allowed to graduate. She must now remediate that
                                                  7
         Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 8 of 10



   course in the Fall 2022, delaying her graduation about seven months.

46. Defendant has not provided a legitimate basis for the determination.

47. These actions against Plaintiff. have a profound and everlasting impact on her including

   irreparable damage to her academic career and professional career.          These actions are

   deliberate, intentional discrimination and retaliation.

48. As a result of CUNY violating the ADA and Section 504, Plaintiff has been damaged.

                              FIRST CLAIM FOR RELIEF-ADA

49. Plaintiff repeats, reiterates, and re-alleges each and every allegation set forth above with

   the same force and effect as if more fully set forth herein.

50. Plaintiff is a protected individual within the meaning of the Americans with Disabilities

   Act 42 U.S.C. 12182.

51. Plaintiff has a disability within the meaning of the ADA.

52. Defendant CUNY is a statutory party within the meaning of the ADA.

53. Defendant violated the ADA by failing to timely reasonable accommodate Plaintiff and

   by otherwise subjecting her to a hostile environment and disparate treatment due to her

   disability.

54. As a result of the willful activities of defendant, plaintiff has been deprived of equal

   educational opportunities based upon her disability, and perceived disability in violation

   of the Americans with Disabilities Act 42 U.S.C. 12182 and suffered damages as a result

   of the Defendant violating the ADA.

                          SECOND CLAIM FOR RELIEF-504

55. Plaintiff repeats, reiterates, and re-alleges each and every allegation set forth above with

   the same force and effect as if more fully set forth herein.

                                                  8
         Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 9 of 10



56. Section 504 was violated because Plaintiff was an otherwise qualified individual with a

   disability and was excluded from participation and denied the benefits of and subjected

   to discrimination solely by reason of her disability.

57. As a result of the foregoing conduct, CUNY has violated. Section 504, 29 U.S.C. 794

   and the regulations promulgated thereunder resulting in plaintiff being damaged.

               PLAINTIFF HEREIN DEMANDS A TRIAL BY JURY
                ON ALL ISSUES AND CLAIMS IN THIS ACTION

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       a. A declaration that CUNY has violated the ADA and Section 504 of the

           Rehabilitation Act and that Plaintiff’s rights have been violated under the ADA

           and 504 and any other equitable relief that the Court deems necessary to correct

           the conditions complained of herein.

       b. Expungement of the failing grade and have her grade recalculated and that

           CUNY be ordered to graduate plaintiff;

       c. Compensatory damages to Plaintiff for the damages incurred including but not

           limited to pain and suffering, lost income due to the delay in graduating and

           damages to Plaintiff’s reputation;




                                                  9
Case 1:22-cv-06646-GHW Document 1 Filed 08/04/22 Page 10 of 10




d. Attorney fees and costs, cannot yet be determined.

e. Any other relief that is just and equitable.

Dated: New York, New York
       August 4, 2022                         Respectfully submitted,


                                              STEWART LEE KARLIN
                                              LAW GROUP, P.C.




                                              __________________________
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                                         10
